
PER CURIAM.
We affirm the denial of Appellant Coley’s post-eonviction motion, in which he raised a single subject rule challenge to the Prisoner Releasee Reoffender Act. Jennings v. State, 744 So.2d 1126 (Fla. 4th DCA 1999); Smith v. State, No. 98-2894, — So.2d -, 1999 WL 966787 (Fla. 4th DCA Oct. 20, 1999). We certify conflict with Thompson v. State, 708 So.2d 315 (Fla. 2d DCA), rev. granted, 717 So.2d 538 (Fla.1998).
WARNER, C.J., GUNTHER and TAYLOR, JJ., concur.
